UNITED STATES DISTRICT COURT Cie
FOR THE NORTHERN DISTRICT OF ILLINOIS eg
EASTERN DIVISION >

ERIC HUNT, and
ANDREA HUNT,

Plaintiffs,

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vs.

Chicago Police Officers
HAROLD BONE, # 4776;

GERALD BREIMON, # 16667;
MICHAEL STACK, # 18480;

ERIC OLSEN, # 4494;

ARLYN CASSIDY, # 2920;
THOMAS DINEEN, # 19770;
VICTOR GUTIERREZ, # 20220;
JOHN BOYLE, # 20671;

Unnamed police officers; and
Cook County Assistant State’s
Attorney CATHERINE QUINLAN,

Judge ’

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Jury Deman

MAGISTRATE JUDGE SCHENKIER

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Defendants.

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COMPLAINT
Introduction
1. This is an action for money damages brought pursuant to

42 U.S.C. § 1983, and the Fourth, Fifth, Sixth, and Fourteenth
Amendments to the United States Constitution. The Defendants are
sued in their individual capacities. Jurisdiction is based on 28
U.S.C. §8 1331 and 1343.
Summary of Factual Claim

2. It is alleged that on October 24, 1998, Plaintiff Eric
Hunt was unlawfully arrested in front of his home at 4025 West
Potomac, City of Chicago, pursuant to a warrant which did not
pertain to him. After the unlawful arrest, Plaintiff ERIC HUNT was

beaten in front of his home. During the beating, ERIC HUNT’S

   
 

mother, Plaintiff ANDREA HUNT, exited the home, and she too was

assaulted and battered by Chicago police officers. Plaintiff ERIC
HUNT was taken to a police station, where he was illegally
interrogated and coerced to sign a false confession. Plaintiff ERIC
HUNT was released on November 6, 1998, after a judge had ruled that
the wrong person was in custody.

Parties

3. At all times relevant to this complaint, Plaintiff ERIC
HUNT was a resident of the City of Chicago, State of Illinois.

4. At all times relevant to this complaint, Plaintiff ANDREA
HUNT was a resident of the City of Chicago, State of Illinois.

5. At all times relevant to this complaint, the Defendant
police officers were acting under color of state law as duly
appointed police officers of the Chicago Police Department, and
were acting in the course and scope of their employment.

6. At all times relevant to this complaint, Defendant
CATHERINE QUINLAN was acting under color of state law as a duly
appointed assistant state’s attorney of the Cook County State’s
Attorney’s Office, and was acting in the course and scope of her
employment.

Facts

7. On October 24, 1998, at about 8:00 p.m., Plaintiff ERIC
HUNT was on the front porch of his home at 4025 West Potomac in the
City of Chicago.

8. Plaintiff ERIC HUNT was on his front porch with his
brother Timothy Hunt, and another person.

9. At said date, time and place, Defendants BONE and BREIMON
approached and seized the three individuals on the front porch,

including Plaintiff ERIC HUNT. All three were ordered to "get up

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against the wall."

10. Defendants BONE and BREIMON ordered that all three remove
their shoes. The three complied with the commands.

11. Defendants BONE and BREIMON handcuffed all three persons,
including Plaintiff ERIC HUNT.

12. Defendants BONE and BREIMON searched all three men,
including Plaintiff ERIC HUNT.

13. Prior to the search and seizure, Plaintiff ERIC HUNT had
not committed any criminal offenses, there was not a warrant for
his arrest, and the Defendants had no legal or probable cause to
search, seize or arrest Plaintiff ERIC HUNT.

14. After seizing Plaintiff ERIC HUNT’s identification,
Defendants BONE and BREIMON told Plaintiff ERIC HUNT that there was
a warrant for his arrest.

15. There was not a warrant for the arrest of Plaintiff ERIC
HUNT.

16. Plaintiff ERIC HUNT repeatedly told the police officers
that there was not a warrant for his arrest, and that they had the
wrong person.

17. While Plaintiff ERIC HUNT was still handcuffed,
Defendants BONE and BREIMON physically removed Plaintiff ERIC HUNT
from the front porch of his home, took him to the street, and
forced him in the back seat of their police car.

18. On the way to the police car, and in the police car,
Plaintiff ERIC HUNT continued to plead with these Defendant police
officers that they had the wrong person and that he was not wanted
for a warrant.

19. Defendants BONE and BREIMON removed Plaintiff ERIC HUNT

from the police car, pushed him on the ground, and repeatedly beat,

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kicked, and battered Plaintiff ERIC HUNT about his whole body,
including poking a long stick-like object into Plaintiff ERIC
HUNT’s back while he was on the ground being beaten.

20. At the time of the beating, at no time did Plaintiff ERIC
HUNT use any force or resistance except that which was reasonably
necessary and legally permissible to protect himself from the
unreasonable and excessive force he was being subjected to.

21. Subsequent to the search and seizure of Plaintiff ERIC
HUNT on his front porch, other Chicago police officers arrived on
the scene, including, but not limited to, Defendants MICHAEL STACK,
ERIC OLSEN, ARLYN CASSIDY, and THOMAS DINEEN. These Defendant
officers failed to stop the beating and protect Plaintiff ERIC
HUNT.

22. During said beating of Plaintiff ERIC HUNT in front of
his home, Plaintiff ERIC HUNT’s pants came down and his genitalia
was exposed.

23. During said beating of Plaintiff ERIC HUNT, Defendant
officers, or some of them, repeatedly screamed vulgar and gross
profanity at Plaintiff ERIC HUNT.

24. During or immediately after the beating of Plaintiff ERIC
HUNT, the Defendants, or some of them, handcuffed Plaintiff ERIC
HUNT’s feet.

25. During the beating of ERIC HUNT, Plaintiff ANDREA HUNT,
mother of Plaintiff ERIC HUNT, came out of Plaintiffs’ family home
at 4025 West Potomac after someone had informed her that the police
were beating up her son, Plaintiff ERIC HUNT.

26. Plaintiff ANDREA HUNT attempted to explain to the
Defendant police officers involved or present at the beating that

Plaintiff ERIC HUNT should not be arrested or beaten.

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27. One or more of the officers called Plaintiff ANDREA HUNT
"Aunt Jemima"; threatened to arrest her, and also stated "go take
a bath bitch," amongst other things.

28. One or more of the Defendant police officers grabbed one
of Plaintiff ANDREA HUNT’s fingers, bent and twisted the finger,
and caused Plaintiff ANDREA HUNT injury and pain.

29. One or more of the Defendant police officers grabbed
Plaintiff ANDREA HUNT, twisted her arm, and threw her toward a car
and onto the ground, thus causing Plaintiff ANDREA HUNT injury and
pain.

30. The next morning, on October 25, 1998, Plaintiff ANDREA
HUNT was treated for her injuries at Norwegian American Hospital.

31. After he was arrested, Plaintiff ERIC HUNT was taken to
a Chicago police station, Area Five police headquarters at Grand
and Central, where he was detained and imprisoned.

32. Plaintiff BRIC HUNT was charged with aggravated battery
to a police officer and criminal damage to city property.

33. At the police station, Defendant police officers VICTOR
GUTTIEREZ and JOHN BOYLE, along with Defendant assistant state’s
attorney CATHERINE QUINLAN, interrogated Plaintiff ERIC HUNT, and
caused him to sign a false confession.

34. On November 5, 1998, a judge ruled that Plaintiff ERIC
HUNT was improperly in custody, that the warrant Plaintiff ERIC
HUNT had been arrested for by Defendants BONE and BREIMON was not
for Plaintiff ERIC HUNT, and ordered that Plaintiff ERIC HUNT be
released.

35. On November 6, 1998, Plaintiff ERIC HUNT was released
from custody.

36. Plaintiff ERIC HUNT was falsely detained and imprisoned

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for 13 days, from October 24, 1998, to November 6, 1998.

37. As a direct and proximate result of the acts of the
defendants described above, Plaintiff ERIC HUNT suffered the
following injuries and damages:

a) Violation of his constitutional rights under the Fourth,

Fifth, Sixth and Fourteenth Amendments to the United
States Constitution;

b) Loss of his physical liberty;

c) Multiple body trauma, physical injury, and pain and
suffering;
d) Mental and emotional pain, suffering, and mental anguish

and humiliation;
38. The acts of the Defendants were done with reckless
disregard to Plaintiffs’ constitutional rights, thereby entitling
Plaintiffs to punitive damages.

COUNT. T
42 U.S.C. § 1983, False Arrest/Imprisonment

39, Plaintiff ERIC HUNT realleges paragraphs 1 through 38 as
if fully set forth herein.

40. The actions of Defendants BONE and BREIMON in handcuffing
and arresting Plaintiff ERIC HUNT on the front porch of his home
without any legal or probable cause violated his Fourth Amendment
right to be free from unreasonable searches and seizures as
guaranteed by the Fourteenth Amendment.

WHEREFORE, Plaintiff ERIC HUNT asks that this Honorable Court:

a) Enter judgment against Defendants BONE and BREIMON;

b) Award compensatory and punitive damages to Plaintiff ERIC

HUNT against the Defendants BONE and BREIMON, jointly and

severally, as determined at trial;
 

c) Award Plaintiff£ attorney’s fees and costs;

qd) Award such other and additional relief that this
Honorable Court deems just and equitable.

COUNT IT
42 U.S.C. § 1983, Illegal Search

41. Plaintiff ERIC HUNT realleges paragraphs 1 through 38 as
if fully set forth herein.

42. The actions of Defendants BONE and BREIMON in searching
Plaintiff ERIC HUNT on the front porch of his home without any
legal or probable cause violated his Fourth Amendment right to be
free from unreasonable searches and seizures as guaranteed by the
Fourteenth Amendment.

WHEREFORE, Plaintiff ERIC HUNT asks that this Honorable Court:

a) Enter judgment against Defendants BONE and BREIMON;

‘b) Award compensatory and punitive damages to Plaintiff ERIC
HUNT against Defendants BONE and BREIMON, jointly and
severally, as determined at trial;

ce) Award Plaintiff attorney’s fees and costs;

a) Award such other and additional relief that this
Honorable Court deems just and equitable.

COUNT III
42 U.S.C. § 1983, Excessive Force

43. Plaintiff ERIC HUNT realleges paragraphs 1 through 38 as
1£ fully set forth herein.

44, The actions of Defendants BONE and BREIMON in beating,
punching, and kicking Plaintiff ERIC HUNT violated his Fourth
Amendment right to be free from unreasonable and excessive force as
guaranteed by the Fourteenth Amendment.

WHEREFORE, Plaintiff ERIC HUNT asks that this Honorable Court:
 

a) Enter judgment against Defendants BONE and BREIMON;

b) Award compensatory and punitive damages to Plaintiff ERIC
HUNT against Defendants BONE and BREIMON, jointly and
severally, as determined at trial;

c) Award Plaintiff attorney’s fees and costs;

a) Award such other and additional relief that this
Honorable Court deems just and equitable.

COUNT IV
42 U.S.C. § 1983, Failure to Protect
from Unreasonable and Excessive Force

45, Plaintiff ERIC HUNT realleges paragraphs 1 through 38 as
L£ fully set forth herein.
46. The Defendant police officers HAROLD BONE, GERALD
BREIMON, MICHAEL STACK, ERIC OLSEN, ARLYN CASSIDY, and THOMAS
DINEEN were present for the unlawful use of force against Plaintiff
ERIC HUNT and failed to protect Plaintiff ERIC HUNT from such
force, in violation of Plaintiff’s Fourth Amendment right to be
free from unreasonable and excessive force, and Fourteenth
Amendment right to due process.
WHEREFORE, Plaintiff ERIC HUNT asks that this Honorable Court:
a) Enter judgment against HAROLD BONE, GERALD BREIMON,
MICHARL STACK, ERIC OLSEN, ARLYN CASSIDY, and THOMAS
DINEEN ;

b) Award compensatory and punitive damages to Plaintiff ERIC
HUNT against said Defendants, jointly and severally, as
determined at trial;

a) Award Plaintiff attorney’s fees and costs;

da) Award such other and additional relief that this

Honorable Court deems just and equitable.
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COUNT V
42 U.S.C. § 1983, Excessive Force

47. Plaintiff ANDREA HUNT realleges paragraphs 1 through 38
as if fully set forth herein.

48. The actions of Defendant police officers, whose exact
identity is unknown at this time, in grabbing, battering, and
throwing Plaintiff ANDREA HUNT, violated her Fourth Amendment right
to be free from unreasonable and excessive force as guaranteed by
the Fourteenth Amendment.

WHEREFORE, Plaintiff ANDREA HUNT asks that this Honorable

Court:
a) Enter judgment against those Defendant police officers
who subjected her to excessive and unreasonable force;
b) Award compensatory and punitive damages to Plaintiff
ANDREA HUNT against these Defendant police officers,
jointly and severally, as determined at trial;
a) Award Plaintiff attorney’s fees and costs;

d) Award such other and additional relief that this
Honorable Court deems just and equitable.

COUNT VI
42 U.S.C. § 1983, Failure to Protect
from Unreasonable and Excessive Force

49. Plaintiff ANDREA HUNT realleges paragraphs 1 through 38
as if fully set forth herein.

50. The Defendant police officers HAROLD BONE, GERALD
BREIMON, MICHAEL STACK, ERIC OLSEN, ARLYN CASSIDY, and THOMAS
DINEEN were present for the unlawful use of force against Plaintiff
ANDREA HUNT and failed to protect Plaintiff ANDREA HUNT from such
force, in violation of Plaintiff’s Fourth Amendment right to be

free from unreasonable and excessive force, and Fourteenth

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Amendment right to due process.

WHEREFORE, Plaintiff ANDREA HUNT asks that this Honorable

Court:

a) Enter judgment against Defendant police officers HAROLD
BONE, GERALD BREIMON, MICHAEL STACK, ERIC OLSEN, ARLYN
CASSIDY, and THOMAS DINEEN ;

b) Award compensatory and punitive damages to Plaintiff
ANDREA HUNT against said Defendants, jointly and
severally, as determined at trial;

c) Award Plaintiff attorney’s fees and costs;

d) Award such other and additional relief that this
Honorable Court deems just and equitable.

COUNT VIT
42 U.S.C. § 1983, Unconstitutional Interrogation

51. Plaintiff ERIC HUNT realleges paragraphs 1 through 38 as
if fully set forth herein.

22. After Plaintiff ERIC HUNT was arrested and searched in
front of his home, Plaintiff ERIC HUNT was taken to a police
station where he was interrogated.

23. Participants in this interrogation included Defendant
police officers VICTOR GUTTIFREZ and JOHN BOYLE, and assistant
State’s attorney CATHERINE QUINLAN.

54. Prior to the interrogation, Plaintiff Eric Hunt did not
making a knowing, intelligent and voluntary waiver of his right to
counsel,

55. As a result of the interrogation, Plaintiff ERIC HUNT was
coerced and compelled to sign a false confession, in violation of
his Fifth Amendment right against self-incrimination, Sixth

Amendment right to counsel, and Fourteenth Amendment right to

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substantive due process.

WHEREFORE, Plaintiff ERIC HUNT asks that this Honorable Court:

a)

b)

Enter judgment against Defendants VICTOR GUTTIEREZ, JOHN
BOYLE and CATHERINE QUINLAN;

Award compensatory and punitive damages to Plaintiff ERIC
HUNT against said Defendants, jointly and severally, as
determined at trial;

Award Plaintiff attorney’s fees and costs;

Award such other and additional relief that this

Honorable Court deems just and equitable.

Plaintiffs demand trial by jury on all counts.

Respectfuily submitted,
haw Offices of Lawrence V. Jackowiak

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LAWRENCE V. JACKOW
Counsel for the P ntiffs

Lawrence V. Jackowiak
Law Offices of Lawrence V. Jackowiak

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Tllinois 60601

(312) 795-9595
Attorney No.: 6231003

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CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as reqt
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
of the Clark of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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ERIC HUNT and ANDREA HRGE NOROBERG HAROLD BONE, GERALD BRETMON, MICHART STACK,
ERIC OLSEN, ARLYN CASSIDY, THOMAS DINEEN,
VICTOR GURIERREZ, and JOHN BOYLE,
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‘MAGisTRATE JUDGE SCHENKIER
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c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER}
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221 No. LaSalle Street, Suite 1938

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VI. CAUSE OF ACTION

DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY.)

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constitutional rights.

(CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE.

 

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UNITED STATES DISTRICT COURT

COMPLAINT O UNDER FR.C.R 23 JURY DEMAND: ONO
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UN ITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
In the Matter of .
ERIC HUNT and ANDREA HUNT,
VS. 4
HAROLD BONE, et.al.

 

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‘JUDGE NORDBERG

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Plaintiffs Eric Hunt and Andrea Hunt MAGISTRATE JUDGE SCHEN
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